                           IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

     In re:

               GVM, Inc.,                                     Chapter 11

                                        Debtor.               Bankruptcy No. 19-03013

     In re:

               Independent AG Equipment, Inc.,                Chapter 11

                                        Debtor.               Bankruptcy No. 19-03014

     In re:

               GVM West, Ltd.,                                Chapter 11

                                        Debtor.               Bankruptcy No. 19-03015


                          ORDER AUTHORIZING JOINT ADMINISTRATION
                                OF RELATED CHAPTER 11 CASES

              This matter having been brought to the Court on the Motion 1 of the Debtors for an Order

 that authorizing Joint Administration of the Debtors' chapter 11 cases, and this Court having

 determined that the relief requested in the Motion is in the best interest of the Debtors, their

 estates, their creditors and other parties-in-interest; and it appearing that proper and adequate

 notice of the Motion has been given and that, except otherwise ordered herein, no other or further

 notice is necessary; and after due deliberation thereon; and good and sufficient cause appearing

 therefore;

              IT IS HEREBY ORDERED THAT:

                     1.       The Motion is GRANTED.

                     2.       Pursuant to Fed. R. Bankr. P. 1015(b) the Debtors' chapter 11 cases shall be

 1
     Other capitalized terms not defined herein will have meaning ascribed to them in the Motion.




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 Jointly Administered.

                  3.     The Clerk of this Court shall maintain one file and one docket for the

 Debtors' cases, which file and docket shall be the file and docket for the chapter 11 case of

 GVM, Inc., Bankruptcy Case Number 19-03013.

                  4. All pleadings filed in the Debtors' chapter 11 cases shall bear a consolidated

 caption in the following form:

  In re:                                                    CASE NO. 19-03013

            GVM, Inc., et al.,                              CHAPTER 11
                                                            Jointly Administered with
                                  Debtor.                   Case No. 19-03014
                                                            Case No. 19-03015




                  5. Notwithstanding the relief granted herein, any creditor filing a proof of

 claim against one of the Debtors shall file such proof of claim in such individual debtor's Chapter

 11 case.

                  6. Nothing contained in the Motion or this Order shall be deemed or construed as

 directing or otherwise effecting a substantive consolidation of the above captioned chapter 11

 cases.

                  7. The terms and conditions of this Order shall be immediately effective and

 enforceable upon its entry.

                  8. This Court shall retain jurisdiction to hear and determine all matters arising

 from or related to the implementation and enforcement of this Order.




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                9. Nothing in this Order shall affect the requirements that GVM, Equipment, or

 West would be required to meet under 11 U.S.C. Section 1129 to obtain confirmation of a plan if

 its case was not jointly administered.

                                            BY THE COURT:


                                            ____________________________________
                                            HONORABLE HENRY W. VAN ECK
                                            UNITED STATES BANKRUPTCY JUDGE




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